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IN RE TFT-LCD (FLAT PANEL)
ANTITRUST LITIGATION

ROBINS, KAPLAN, MILLER & CIRESI L.L.P.

This Document Relates to Individual Case No.
3:10-CV-4572-SI:

BEST BUY CO., INC.; BEST BUY
PURCHASING LLC; BEST BUY
ENTERPRISE SERVICES, INC.; BEST BUY
STORES, L.P.; BESTBUY.COM, L.L.C.; and
MAGNOLIA HI-FI, INC.,

Plaintiffs,
Vv.

AU OPTRONICS CORP.; AU OPTRONICS
CORPORATION AMERICA; CHI MEI
CORP.; CHI MEI OPTOELECTRONICS
CORP. (N.K.A. CHIMET INNOLUX
CORPORATION); CHI MEI
OPTOELECTRONICS, USA, INC.;
CHUNGHWA PICTURE TUBES, LTD.;
CMO JAPAN CO., LTD.; EPSON

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

Master File No. 3:07-MD-1827 SI
MDL No. 1827

Case No. 3:10-CV-4572 ST
The Honorable Susan Y. Illston

BEST BUY’S OPPOSITION TO
DEFENDANTS’ JOINT MOTION FOR
PARTIAL SUMMARY JUDGMENT
DISMISSING BEST BUY’S (1) PRE-
OCTOBER 8, 2006 CLAIMS AS TIME
BARRED AND (2) POST-MAY 2003
CLAIMS FOR FAILURE TO
MITIGATE DAMAGES

Date: October 5, 2012
Time: 9:00 a.m.
Place: Courtroom 10, 19th Floor

Case No. 3:10-CV-4572 SI

83272922.5

OPPOSITION TO DEFENDANTS’ JOINT MOTION
FOR PARTIAL SUMMARY JUDGMENT

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ELECTRONICS AMERICA, INC.; EPSON
IMAGING DEVICES CORPORATION;
HANNSTAR DISPLAY CORP; HITACHI
DISPLAYS, LTD.; HITACHI ELECTRONIC
DEVICES (USA), INC.; HITACHI, LTD.; LG
DISPLAY CO., LTD.; LG DISPLAY
AMERICA, INC.; NEXGEN MEDIATECH
USA, INC.; NEXGEN MEDIATECH, INC.;
SHARP CORP.; SHARP ELECTRONICS
CORP.; TATUNG COMPANY OF
AMERICA, INC.,

Defendants.

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Plaintiffs Best Buy Co., Inc., Best Buy Purchasing LLC, Best Buy Enterprise Services,
Inc., Best Buy Stores, L.P., Bestbuy.com, L.L.C., and Magnolia Hi-Fi, Inc. (collectively “Best
Buy”) hereby submit their Opposition to Defendants’ Joint Motion for Partial Summary Judgment
Dismissing Best Buy’s (1) Pre-October 8, 2006 Claims as Time Barred and (2) Post-May 2003

Claims for Failure to Mitigate Damages (‘Motion’), as set forth below.

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Other Authorities

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I.
INTRODUCTION

Defendants’ entire motion — a crude and irrelevant cut-and-paste job from the Dell action
— is based on a single speculative and unsupported passing comment made by a Toshiba America
Information Systems, Inc. (“TAIS”) employee to a Best Buy buyer during a May, 2003 vendor
meeting regarding laptop inventory. An exhaustive top-to-bottom search of Best Buy in 2011 in
this case reveals that this single speculative comment about a “panel cartel” appears in a grand
total of three Best Buy documents: a memo to TATS and Best Buy summarizing the May, 2003
meeting and two later documents where the comment was pasted, verbatim, from the initial
memo. Each document is totally devoid of any facts whatsoever regarding a purported cartel, as
there are no references at all to any individuals, entities, places, events, documents, dates and/or
agreements. Through creative exaggerations and outright hyperbole, Defendants attempt to
leverage this single speculative statement into conclusive evidence that Best Buy had actual
knowledge of the conspiracy such that it should have immediately filed a complaint and contacted
the Department of Justice (“DOJ”). But it is clear from the face of these three documents and
from witness testimony that Best Buy never received any facts or documents supporting the
existence of a panel cartel prior to the DOJ’s public disclosure of the conspiracy.

Statute of Limitations

Defendants have not and cannot establish that Best Buy had actual notice of the
conspiracy as a matter of law in 2003, much less show that there are no genuine disputed issues of
material fact on fraudulent concealment. This is particularly true given the overwhelming
evidence of Defendants’ extensive scheme to conceal their conspiracy.

Nor can Defendants establish that Best Buy had constructive notice. First, the law is clear
that mere rumors are insufficient to trigger a duty to investigate. Indeed, the Ninth Circuit has
explained that even the filing of public lawsuits that received “widespread industry publicity” are
insufficient to establish constructive notice as a matter of law. Second, there is no constructive
notice where, as here, an investigation would have revealed nothing. It is not enough for

Defendants to simply point to the speculative TAIS statement and claim Best Buy did not act

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diligently in investigating the comment. Rather, Defendants must demonstrate that Best Buy
could have uncovered facts demonstrating the conspiracy in May, 2003. Defendants have failed
to put forth any evidence to meet this high burden. Third, contrary to Defendants’ arguments, the
evidence demonstrates that Best Buy diligently investigated component supply issues on an
ongoing basis with TAIS, yet never found any evidence supporting the existence of a panel cartel.
In fact, component supply issues raised by TATS in May, 2003 supposedly tied to a panel cartel
had disappeared by August, 2003.

Finally, Defendants’ Motion should be denied because the limitations period was tolled,
pursuant to the Government Action, American Pipe, and Cross-Jurisdictional tolling doctrines.
Defendants ignore these tolling periods, which toll the limitations period even in the absence of
fraudulent concealment. And Defendants’ waiver argument is baseless. Best Buy’s First
Amended Complaint (“FAC”) describes the basis for Government Action tolling in detail and
alleges facts demonstrating that it was a member of the Direct Purchaser Plaintiff (‘DPP”) and
two Indirect Purchaser Plaintiff (“IPP’’) cases originally filed in Minnesota. And in any event, the
Court can take judicial notice of the pendency of the DPP and IPP cases on summary judgment.
In short, disputed issues of material fact preclude summary judgment.

Mitigation of Damages

Defendants next argue, based on the same single speculative TAIS comment, that
summary judgment is warranted because Best Buy “could have sued the defendants” but instead
“gamed the system” and made “a bet on treble damages.” Mot., at pgs. 17:27; 18:9-10, 20:1.
Putting aside that no such mitigation defense exists in horizontal price-fixing cases, Best Buy was
aware of no facts whatsoever triggering any duty to mitigate, either by filing suit or notifying the
DOJ. Defendants’ argument might make sense in an imaginary world — one where FRCP Rule 11
does not exist and where antitrust complaints need not name defendants nor identify conspirators,
individuals, places, events, dates, documents, and/or agreements. For these reasons, summary

judgment is improper.

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I.
STATEMENT OF ISSUES TO BE DECIDED

l. Whether there are genuine issue of material fact regarding Best Buy’s actual or
constructive notice of Defendants’ conspiracy and regarding Defendants’ fraudulent concealment
where: (1) Best Buy had no facts about the conspiracy and no facts triggering a duty to
investigate, (2) Best Buy’s investigation revealed nothing, (3) there is no evidence that Best Buy
could have discovered the conspiracy in 2003; and (4) Defendants concealed the existence of
their global conspiracy to fix LCD prices.

2, Whether the limitations period on Best Buy’s claims was tolled under the
Government Action, American Pipe, and Cross-Jurisdictional tolling theories even in the absence
of fraudulent concealment.

3. Whether Defendants’ affirmative defense of mitigation of damages fails because:
(1) there is no cognizable mitigation defense in this horizontal price fixing case, (2) Best Buy was
aware of no facts triggering a duty to mitigate, and/or (3) Best Buy’s investigation revealed
nothing.

I.
GENUINE ISSUES OF DISPUTED MATERIAL FACT

Defendants’ Motion must be denied because a reasonable juror could conclude that: (1)
Best Buy lacked actual knowledge or constructive notice of Defendants’ price fixing conspiracy;
(2) TAIS’s speculative “panel cartel” comment triggered no duty to investigate; (3) Best Buy’s
investigation revealed no facts regarding a panel cartel or a price-fixing conspiracy; (4) Best Buy
could not have discovered facts demonstrating a conspiracy in 2003; and/or (5) Defendants and
their co-conspirators took affirmative steps to conceal their conspiracy.

IV.
PRIOR ORDERS
1. Special Master’s Amended Order Re: Defendants’ Motion for Leave to Disclose

Anthony Nanni as Expert Witness in the Dell and Best Buy Cases. (Dkt. 5240).

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2. Order Denying Defendants’ Objection to Special Master’s Order Denying Leave
To Disclose Anthony Nanni As Expert Witness In The Best Buy Case. (Dkt. 5587).
V.
STATEMENT OF FACTS

A. Best Buy Did Not Have Any Evidence of Defendants’ Price-Fixing Conspiracy Until
The DOJ’s Public Disclosure Of Its Investigation

While making sweeping and hyperbolic declarations that Best Buy “received unequivocal
information of the existence of the ‘panel cartel’” (Motion at 9), Defendants fail to mention any

“facts” that purportedly required Best Buy to immediately file suit and run to the DOJ in 2003 —

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and with good reason — the facts demonstrate that Best Buy had no actual or constructive

knowledge of the LCD price fixing conspiracy in May, 2003.

Best Buy witnesses testified that they had no knowledge of the LCD price
fixing conspiracy in May, 2003. Ex. 37', Winneroski Tr. at 62:21-63:18,
81:13-22; Ex. 38, Fritz Tr. 45:16-46:8; Ex. 40, Sherwood Tr. at 40:11-15; Ex.
39, McClain Tr. at 53:13-23.

The May, 2003 TAIS vendor meeting and resulting Vendor Meeting
Recap memo disclosed no “facts” regarding any price fixing conspiracy.
See Ex. 35 (Vendor Meeting Recap memo).

The “panel cartel” comment was speculative and construed as an excuse.

All TAIS employees testified that it had no knowledge of the price
fixing conspiracy in 2003. Ex. 41, Skillman Tr. at 67:3-68:6; Ex. 42,
Anderson Tr. at 97:13-99:3; and Ex. 43, Weiss Tr. at 23:11-25,

Vendors often made excuses. Ex. 37, Winneroski Tr. at 74:20-75:7
and Ex. 38, Fritz Tr. at 53:9-54:11.

TAIS had a history of decommissioning supply in a short period of
time. Ex. 41, Skillman Tr. at 34:10-23; 60:23-62:20,

TAIS was poor at managing inventory or meeting vendor needs. Ex.
41, Skillman Tr. at 38:17-39:25 and Ex. 43, Weiss Tr. at 42:5-46:5.

The panel cartel comment was placed in quotes. Ex, 37, Winneroski
Tr, at 63:5-12; 67:10-17.

The “real issue” was hard drives. Ex. 37, Winneroski Tr. at 63:5-12;
67:10-17; 74:2-14; 81:13-22; Ex. 41, Skillman Tr. at 60:23-62:20; and
Ex. 43, Weiss Tr. at 42:5-46:5,

' All “Ex.” and “Exs.” References are to the concurrently-filed Declaration of Roman Silberfeld.

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e Best Buy acted reasonably diligently and its investigation in 2003
revealed nothing.

- TAITS and Best Buy continued to work closely on component and
supply issues. Ex. 35 and Exs. 44-46

- TAIS personnel were charged’ with keeping Best Buy informed of
“additional information” on panel shortages. Ex. 35.

- TAITS never again raised the issue of a “panel cartel.” Exs. 44-46

- TAIS reported no panel supply issues or any “panel cartel” in its next
meeting with Best Buy in June, 2003. Exs. 44-46

- TAIS reported no panel supply issues in August, 2003. Exs. 44-46

e Best Buy’s massive document search in 2011 revealed no evidence of any
panel cartel. See Exs. 35-36 and 47.

e There is no evidence that Best Buy “could have” discovered any panel
cartel before December, 2006.

- Defendants provide no such evidence to the Court and there is no
evidence of any public information prior to December, 2006 regarding
any panel cartel. See Decl. of Roman Silberfeld, 7 55.

1. The TAIS-Best Buy Vendor Meeting and Recap
The facts are these: On May 15, 2003, Best Buy’s buyer Kevin Winneroski held a

meeting with six individuals at TATS to discuss Best Buy’s procurement of laptops ahead of the
“back-to-school” season. Ex. 35, The meeting was one of several between Best Buy and TAIS
designed to ensure that Best Buy would receive an adequate supply of laptops to fill its shelves
for the back-to-school season, which generally runs from July through September. Mr.
Winneroski summarized the meeting that same day in a cover email and attached a 3-page memo
entitled “Vendor Meeting Recap.” Jd. He then emailed the document to Best Buy and TAIS
personnel involved in laptop procurement. The memo discussed TAIS’s laptop commitments to
Best Buy and described a collaborative plan through the back-to-school season. One of the six
issues discussed during the meeting was “Component Risks in Notebooks.” The second page of

the document includes the following statements attributed to TATS:

Panels are a spoity issue — not necessarily any real shortages, likely
more of an issue of the ‘ ‘panel cartel” conspiring to keep supply
down to drive prices up. Real issue is hard drives — IBM exited the
business two months ago, selling out to Hitachi and Toshiba as
main suppliers. Hitachi has been unable to ramp up demand ~
serious ongoing issue. Id. [internal quotations in original; emphasis
added].

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This passage is the entire universe of supposed cartel “evidence” that purportedly required
Best Buy to immediately file suit and run to the DOJ. Putting aside numerous disputed issues as
to who said it, what was said and what it meant (no one from Best Buy knew its meaning), the
“panel cartel” comment is facially speculative and unsupported by any facts. Conversely, TAIS
stated that the “real issue” was “hard drives” because “IBM exited the business” and “Hitachi has
been unable to ramp up demand.” Jd. Mr. Winneroski considered the speculative “panel”
comment an “excuse,” as contrasted with the “hard drive” statement based on the fact that IBM
had “exited the business.” /d. at 63:5-12; 67:10-17; 74:2-12. While the “hard drive” issue was the
“real issue,” and was both “serious” and “ongoing” (/d., at 74:2-12; 81:13-22; 226:9-19), this was
the first and only time Mr, Winneroski heard about alleged efforts to limit supply to drive pricing.
Td, at 62:21-25; 81:17-22.

Given TAIS’s history of “decommitting supply in a short window of time,” (Ex. 41,
Skillman Tr. at 34:10-23) and TAIS’s reference to a “panel cartel” without any supporting facts,
Mr. Winneroski considered the comment an excuse for TAIS’s inability to meet Best Buy’s

laptop demand. Mr. Winneroski put the “cartel” phrase in quotes precisely for that reason:

A. Well I think from the fact that T put this in parentheses and
the tone and the way that it was written, we likely took this
as an excuse. The real issues, as I state also in this portion,
that we understood was hard drives. And there were
legitimate reason for hard drives to be constrained.

Ex. 37, Winneroski Tr. at 63:5-12. Further:

Q. And what in your notes suggests that you really believed
that the issue was hard drives.

A. The fact that | said the real issue is hard drives. Putting
ourselves back in 2003, there were two main suppliers for
hard drives, Hitachi and Toshiba ... And our belief was that
there was competition of this product, that we may not have
been given the full story all around.

Id. at 74:12-75:1-2. Best Buy’s Wendy Fritz, who was Mr. Winneroski’s superior at the time,
similarly testified that the comment appeared to be an excuse, and that vendors often made
excuses for not meeting demand. Ex, 38, Fritz Tr. at 53:9-54:11.

Indeed, Kurt Skillman (to whom the component issues raised in the memo are attributed

(Ex. 35 at pg. 1; see also Ex. 37, Winneroski Tr. at 55:13-19) testified that TAIS was not very

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good at managing its inventory and/or meeting vendor needs during the May 2003 time frame.
Ex. 41, Skillman Tr. at 34:10-23; 38:17-39:25; see also Ex. 43, Weiss Tr. at 42:5-46:5 (same).
Moreover, the three deposed TAIS employees from the May 2003 meeting confirmed that they
were aware of no facts supporting any panel cartel (Ex. 41, Skillman Tr. at 67:3-68:6; Ex. 42,
Anderson Tr. at 97:13-99:3; Ex. 43, Weiss Tr. at 23:11-25), and that hard drives were the real
issue supported with actual facts (such as TBM exiting the business). ? And Mr. Skillman, while
not recalling the comment, confirmed it was purely speculative. Ex. 41, Skillman Tr. at 62:21-
63:13.

Defendants grossly overstate the evidence as to what Best Buy supposed “knew” and
“understood” given its employees’ supposed antitrust training. Motion, at pgs. 6-7, Defendants
suggest that because of this antitrust training, Best Buy “knew” that the word “cartel” was cause
for action. None of the testimony that Defendants cite to shows that the Best Buy employees at
issue had antitrust training before May, 2003. Motion, at 7:8-25; see Ex. 37, Winneroski Tr.
70:20-71:7; Ex. 38, Fritz Tr, at 48:23-49:15; Ex. 40 Sherwood Tr. at 37:14-20, And all four Best
Buy witnesses deposed on the “panel cartel” comment testified that they did not recall the
comment, and that they did not understand a “cartel” to necessarily refer to illegal behavior. Ex.
37, Winneroski Tr. at 67:22- 68-25; Ex. 38, Fritz Tr. at 46:9-48:4; Ex. 39, McClain Tr. at 50:22-

51:23; Ex. 40, Sherwood Tr. at 33:8-34:1; 37:6-13
2. Best Buy’s Investigation

Defendants argue that Best Buy did nothing and ignore the evidence that Best Buy took
specific steps to investigate TAIS’s speculative “panel cartel” comment. The immediate result of
the May 2003 meeting was that Best Buy monitored TAIS’s ability to deliver laptops on Best
Buy’s timetable. Best Buy of course was highly incentivized to monitor any perceived supply

chain and component issues — that was one of the reasons for the ongoing discussions with TAIS

> Ex, 41, Skillman Tr. at 60:23-62:20; Ex. 42, Anderson Tr. at 60:22-61:18; Ex. 43, Weiss Tr. at

42:24-44:18. For example, TAIS employee Matt Weiss testified that during this 2003 time period
he could not recall ever discussing panel supply issues, but he specifically remembered that TATS

was struggling to get hard drives for lower priced computers, which were a big “volume driver” at
the back to school time. Ex. 43, Weiss Tr. at 43:14-21,

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leading up to the back-to-school season in the first instance. ? Asa result, TAIS personnel were
specifically charged with keeping Best Buy informed of “additional information” on panel
shortages. Ex. 35; Ex. 37, Winneroski Tr. at 79:12-80:6. And the Vendor Meeting Recap memo
itself specifically notes that Best Buy and TAIS agreed to “[c]ontinue to share information on
component level issues and work to collaboratively anticipate potential shortages and plan far
enough ahead to mitigate risk.” Ex. 35, pg.3.

In fact, Best Buy continued to meet with TAIS leading up to and through the back-to-
school season, including just a month later on June 17, 2003 to continue to share information and
address laptop delivery issues. Exs. 44-45 The meeting was attended by many of the same TAIS
and Best Buy personnel from a month earlier. The resulting memo discusses laptop supply chain
issues in great detail, including “plastic shortages,” but reflects no mention at all of any panel
cartel or even of any panel supply issues. Ex. 44 at pg.14. Best Buy continued to investigate
component issues through at least August 25, 2003. On that date, Mr. Winneroski drafted an

internal email explaining as follows:

Thave made repeated requests of the HP team to get me details on the
severity issues, and a plan of action for how we can partner proactively
to minimize business disruption. These requests have not been
answered to my satisfaction.

kK Ok

Tam making the same request for Toshiba, however we are NOT
hearing about component related issues from Toshiba at this time.

Ex. 46 [capitalization in original; bolded added]. The evidence is clear that TATS never again
mentioned any “panel cartel,” confirming Mr. Winneroski’s suspicion that TAIS’s earlier
speculative panel cartel comment was merely an excuse for their lack of performance. And it
shows that the panel supply issued tied to a supposed panel cartel comment by TAIS in May,
2003 was resolved by August, 2003. A massive Best Buy electronic and hard copy document
search in 2011 turned up no evidence that TATS (or anyone else) ever raised the “panel cartel”

issue again, let alone any facts to support it. The search yielded only two additional documents.

As is normal in the retail environment, Best Buy was dealing with product “undersupply” and
“oversupply” “on a very consistent quarterly and annual basis.” Ex. 38, Fritz Tr. at 38:9-12.

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The first is a 67-page PowerPoint deck dated May 28, 2003, which includes a single line
replicating the Vendor Meeting Recap “cartel” statement. Ex. 36 at pg. 4. The deck, which
reflects a single monthly meeting with certain Best Buy regional field personnel, includes the
following shorthand statement buried in diminutive font on page 4, line 9 of 26, in a slide (one of
67) entitled Notebook Inventory — June FY 04: “Panels — cartel holding supply down to drive
pricing.” Jd. at pg. 4. As the Court can see from reviewing the document, the buried statement
tracks the prior statement from the Vendor Recap Meeting and is again devoid of any factual
basis. Ex. 40, Sherwood Tr. at 49:24-50:10, While Defendants claim that Best Buy presented this
supposed “evidence” of a cartel to its regional vice presidents, the deck actually identifies eight
total potential attendees, including only one Best Buy field vice president. “

The second document is a March 7, 2005 email comparing notebook supply and sales in
2003 and 2004. Ex. 47, The document again copied — verbatim — the panel cartel comment from
the prior two documents, and is again devoid of any factual information whatsoever. That Best
Buy published these documents to its personnel is both unremarkable and irrelevant. PowerPoint
presentations and emails are by definition “published.” But the Court can see for itself upon

reviewing the documents that their purpose had nothing to do with any panel cartel.
B. Defendants Actively Concealed Their Price-Fixing Conspiracy
The evidence overwhelmingly establishes that the major LCD manufacturers perpetrated

an extensive scheme to conceal their conduct and deny its existence to its customers:

e The conspiracy participants were instructed to avoid written communications,
“which would leave trails.” Ex. | at 358:12-171:; see also Ex. 2 at 284: 15-18
(Genichi Watanabe agreed that he did not create writings because he was “concerned
about the antitrust laws.”); Ex. 3 at 164:7-16 (Michael Hanson agreed he
“purposefully didn’t write down a lot of things that [he] talked about so that it
wouldn’t come to light someday.”); Ex. 4 at 263:1-3; Ex. 5 at 192:7-15 (Bock Kwon
agreed he was instructed to “avoid written communications so that they couldn’t be
used as evidence.”); Ex. 6 at 120:25-11, 199:13-200:19 (Hitachi employees avoided
written communications.); Ex. 7 at 238:10-240:10; Ex. 8; Ex. 9; Ex. 10; Ex. Il
(Instructing Toshiba employees to “not release emails ... Make simple correspondence
via the telephone because if you do so by mail then there will be evidence of what you

“ The deck confirms that the business team had been diligently “working around the clock to find
opportunities to fill gaps in the assortment, & procure additional inventory. The team is meeting
each morning to touch base on the action items (see attached) and planning the priorities for the
day.” Ex. 36 at pg. 4.

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have said.”); Ex. 12 (instructing Toshiba employee not to forward emails “suggesting
a violation of antitrust legislation.”).

« Communications that were written and sent via email were often accompanied by
instructions such as “Do Not Forward” or “Destroy After Reading,” in an
attempt to limit widespread knowledge of the conspiracy. See, e.g., Ex. 13 at
297:9-25; Ex. 14 at 256:14-22, 267:11-21, 273:11-19; Ex. 15 at 74:7-18; Ex. 16 at
477:9-16; Ex. 17; Ex. 18; Ex. 19; Ex. 20.

¢ The conspiracy participants often met in hotels instead of their own offices to
avoid discovery. See, e.g., Ex. 2 at 40:6-19; Ex. 21 at 68:25-69:12; Ex. 22 at 67:18-
68:1; Ex. 7 at 58:14-59:2; Ex. 23.

¢ The Crystal Meeting participants insisted on keeping the number of attendees to
a minimum, to avoid detection. See, e.g., Ex. 24 at 96:25-97:13; Ex. 25 at 127:12-
19; Ex. 26.

¢ When leaving the Crystal Meetings, the attendees were instructed to leave at
staggered times, so they would not all be seen together. See, e.g., Ex. 24 at 97:14-
17; Ex, 22 at 139:15-22, 361:24-362:4; Ex. 27 at 66:2-19.

¢ The conspirators were instructed to keep the meetings and discussions
confidential, even from others within their own companies, and participants tried
to keep the meetings and discussions hidden from their customers. See, e.g., Ex. |
at 78:1-6, 238:22-24, 242:3-9, 368:14-369:9 (“No matter it’s lawful or unlawful, the
existence of this kind of meeting may cause not necessary trouble with our
customer.”); Ex. 3 at 299:6-12; Ex. 24 at 265:11-266:7; Ex. 21 at 99:1-16, 290:19-24:
Ex. 28 at 195:7-13, 278:6-13; Ex. 16 at 54:15-55:3; Ex. 29 at 1223:5-1224:9,

e As the conspirators became more concerned that the conspiracy would be
discovered, they began sending only lower-level employees, as opposed to the
CEOs that previously attended the meetings. See, ¢.g., Ex. | at 360:1-20; Ex. 30 at
GRNO000133.

¢ When submitting price increases the conspirators provided alternative,
seemingly legitimate explanations for those price increases. See, e.g., Ex. 24 at
99:1-25; Ex. 6 at 205:1-206:1; Ex. 31.

e Similarly, the conspirators attempted to stagger their price submissions and
avoid submitting their prices at the same time and at exactly the same price

points so as not to raise customer suspicions. See, e.g., Ex. 6 at 214:2-9, 215:7-25;
Ex. 32; Ex. 33; Ex. 34,

C. Applicable Standards

1. Summary Judgment Standard of Review

Defendants bear the burden of proving that no genuine issue of material fact exists. See
Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 n.10 (1986); Fed. R. Civ, P.
56(c). When deciding a motion for summary judgment, courts are “not to weigh the evidence and

determine the truth of the matter but to determine whether there is a genuine issue for trial.”

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Anderson v. Liberty Lobby, 477 U.S. 242, 248-49 (1986), and the court views the evidence in the
light most favorable to the nonmoving party (/d. at 255), and that evidence “is to be believed, and
all justifiable inferences are to be drawn in [its] favor.” Jd. “In antitrust cases, these general
standards are applied even more stringently and summary judgment granted more sparingly.”

Beltz Travel Service, Inc. v. Intern. Air Transport Asso., 620 F.2d 1360, 1364 (9th Cir. 1980).
2. Constructive Notice and Fraudulent Concealment Standards

Constructive knowledge exists when a plaintiff "should have been alerted to facts that,
following duly diligent inquiry, could have advised it of its claim." Conmar, 858 F.2d at 502
(citation omitted). However, “the requirement of diligence is only meaningful ... when facts
exist that would excite the inquiry of a reasonable person.” Jn re Rubber Chems. Antitrust Litig.,
504 F. Supp. 2d 777, 788 (N.D. Cal. 2007) (quoting Conmar Corp. v. Mitsui & Co. (U.S.A.),
Inc., 858 F.2d 499, 504 (9th Cir. 1988). Facts must first exist to excite the inquiry of a reasonable
person. And whether such facts exist, is a question for the jury. Jn re Petroleum Products
Antitrust Litig., 782 F. Supp. 487, 489 (C.D. Cal. 1991) (“[The elements of fraudulent
concealment] are all factual questions” [emphasis added]). Moreover, even if such facts exist,
“defendants have the burden ... to demonstrate conclusively that the plaintiffs, through the
exercise of reasonable diligence, would have discovered adequate ground for filing suit.” In re
Beef Industry Antitrust Litigation, 600 F.2d 1148 (5th Cir. 1979) (cert denied, 449 U.S. 905
(1980) [emphasis added]). For these reasons, “Ordinarily, a defendant has an extremely
difficult burden to show that [fraudulent concealment allegations are] barred as a matter of law.”
Volk v, D.A. Davidson & Co., 816 F.2d 1406, 1417 (9th Cir. 1987) [emphasis added]. To grant
summary judgment, the court must determine that the “uncontroverted evidence ‘irrefutably
demonstrates that a plaintiff discovered or should have discovered [the cause of action] but failed
to file a timely complaint.’”” Conmar, 858 F.2d at 502 [brackets in original] [citation omitted].

Fraudulent concealment is an “equitable doctrine” under which “the applicable statute of
limitations is tolled if the plaintiff proves the defendant fraudulently concealed the existence of
the cause of action so that the plaintiff, acting as a reasonable person, did not know of its

existence.” E.W. French & Sons v. Gen. Portland, Inc., 885 F.2d 1392, 1399 (9th Cir. 1984).

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D. Defendants Have Not Demonstrated That Plaintiffs Claims Are Time Barred and
Have Not Met the “Extremely Difficult Burden” to Show that Best Buy’s Fraudulent
Concealment Claim Fails as a Matter of Law

Defendants’ Motion must be denied because a reasonable juror could conclude that: (1)
Best Buy lacked actual knowledge or constructive notice of Defendants’ price fixing conspiracy;
(2) TAIS’s speculative “panel cartel” comment triggered no duty to investigate; (3) Best Buy’s
investigation revealed no facts regarding a panel cartel or a price-fixing conspiracy; (4) Best Buy
could not have discovered facts demonstrating a conspiracy in 2003; and/or (5) Defendants and

their co-conspirators took affirmative steps to conceal the conspiracy.

1. TAIS’s Single Speculative and Unsupported Comment Regarding a “Panel
Cartel” is Woefully Insufficient to Demonstrate That Best Buy Had Actual
Notice of the Price-Fixing Conspiracy and, at Best, Raises Factual Issues

Defendants have not and cannot demonstrate that Best Buy had actual knowledge of any
facts underlying its antitrust claims. Indeed, “whether a plaintiff knew or should have known of a
cause of action presents a question for the trier of fact.” Volk, 816 F.2d at 1417; see also In re
Petroleum Prods., 782 F. Supp. at 491 (same); Go Computer, Inc. v. Microsoft Corp., 437 F.
Supp. 2d 497, 500 (D. Md. 2006) (“Factual disputes concerning the extent of a plaintiff's
knowledge cannot be resolved on summary judgment.”).

TAIS’s single conclusory “panel cartel” comment does not come close to establishing that
Best Buy had actual knowledge of Defendants’ conspiracy. See, e.g., Mt. Hood Stages, Inc. v.
Greyhound Corp., 555 F.2d 687, 698 (9th Cir. 1977) (vacated on other grounds, 437 U.S. 322)
(refusing to set aside a jury determination of fraudulent concealment because “suspicion will not
substitute for knowledge” of facts”); Williamson v. Prasciunas, 661 N.W.2d 645, 650 (Minn.
2003) (affirming judgment for plaintiff even though she suspected her claims twelve years earlier

because “[m]ere suspicion, in a case of fraudulent concealment, is not sufficient to stop the tolling

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of the statute of limitations.”). °

The Ninth Circuit’s Conmar decision is dispositive. There, the Court reasoned that the
following evidence was insufficient to put plaintiff on “notice” of its antitrust claims for purposes
of summary judgment: (1) public news reports, (2) a federal indictment, and (3) other antitrust
complaints filed against defendants. Conmar, 858 F.2d at 503-504. This was because “the leap
from the plaintiff's knowledge of the ... complaint to actual or constructive knowledge of their
causes of action... involves factual issues.” Jd. at 504 (quoting In re Beef Indus., 600 F.2d at
1171). And “[e]ven if [plaintiff] were charged with knowledge of [other antitrust complaints]
because it was a matter of public record, that knowledge would not necessarily justify the filing of
a complaint, and so the issue of whether the statute of limitation was tolled would be
inappropriate for summary judgment.” Jd. at 504. .

Likewise, the Fifth Circuit also found that: (1) public articles stating that cattle farmers
were colluding to depress prices and, (2) the filing of an antitrust complaint that received
nationwide publicity did not amount to constructive or actual knowledge sufficient to start the

statute of limitations in light of allegations of fraudulent concealment:

Although the statute of limitations is not tolled simply because the
plaintiffs lack much of the evidence supporting their potential
claim, they cannot have notice of a potential claim unless they are
aware of some evidence tending to support it. The filing by others
of a similar lawsuit against the same defendants may in some
circumstances suffice to give notice, but to rule that it does so as a
matter of law is to compel a person situated like these plaintiffs to
file suit, on the pain of forfeiting his rights, regardless of whether
his attorney believes that there is ‘good ground to support it.’ Rule
11, F.R.Civ.P. The mere filing of a similar lawsuit, without more,
does not necessarily give ‘good ground’ because that suit might
well be frivolous or baseless.

° See also Law v. Medco Research, Inc., 113 F.3d 781, 787 (7th Cir. 1997) (“[T]he running of the
statute of limitations would be tolled (interrupted). ..until the investors had enough facts in hand
to enable them to file a complaint that would comply with the requirements of Federal Rules of
Civil Procedure for pleading fraud). Re/MAX Int’l Inc. v. Realty One, Inc., 173 F.3d 995 (6th Cir,
1999) (“Mere suspicion of a conspiracy is not enough ,., without evidence that the defendants
acted in concert.”); Gaston v. NYC Dep't of Health Office of Chief Med. Exam’r,

432 F. Supp. 2d 321 (S.D.N.Y 2006) (“accrual occurs when the plaintiff has discovered the
critical facts of both his injury and its cause.”)

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In re Beef Indus., 600 F.2d at 1171. °

Here, as in Conmar, In re Beef and In re Copper, Defendants have not and cannot
demonstrate that Best Buy had actual notice of Defendants’ price fixing conspiracy. If other
complaints and public news articles alleging price fixing were insufficient to establish actual
notice in those cases, TAIS’s speculative and unsupported passing comment to Best Buy in 2003
is surely insufficient to give Best Buy “good grounds” to file an antitrust claim against
Defendants in 2003 under the governing Rule 11 standard. Indeed, unlike Conmar, where even
complaints and news articles were insufficient, there is no evidence at all of any public reports or
criminal or civil complaints in 2003 (and until December, 2006) that were available to Best Buy.

Defendants’ authorities also demonstrate why summary judgment is improper. In
Rutledge v. Boston Woven Hose, 576 F.2d 248 (9th Cir.1978), the plaintiff had complained to the
DOJ of suspected antitrust violations by a hydraulic hose manufacturer more than four years
before filing his claim and had also filed and litigated identical claims against another hose
manufacturer for the same antitrust conduct. Jd. at 250. The Court concluded that plaintiff could
have discovered his claim against the defendant through diligent discovery in the prior action and
could not assert fraudulent concealment. In Hennegan v. Pacifico Creative Serv. Inc, 787 F.2d
1299, 1302 (9th Cir, 1986), the plaintiff admitted knowing facts demonstrating an antitrust
violation, but argued that it did not know the law. The court concluded that “ignorance of an
antitrust cause of action alone is insufficient to toll the statute of limitations.” Jd. And in Western
Shoe Gallery, Inc. v, Duty Free Shoppers, Ltd., 593 F. Supp. 348, 350 (N.D. Cal. 1984), summary
judgment was proper because the plaintiff's counsel had written a letter to defendants alleging

refusal to deal antitrust violations more

© See also In re Copper Antitrust Litig., 436 F.3d 782, 792 (7th Cir. 2006) (“it is not enough for
summary judgment to point to facts which might have caused a plaintiff to inquire, or could have
led to evidence supporting his claim, A defendant who does this has succeeded in demonstrating
only that there is a jury question regarding the tolling of the statute of limitations by fraudulent
concealment. To award summary judgment on such a showing is error,”).

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than four years before filing suit.’

In short, much more than an unsubstantiated comment from TAIS regarding a “panel
cartel” is necessary to establish that Best Buy had actual knowledge of the conspiracy as a matter
of law. Defendants are not permitted to “leap” from the speculative “panel cartel” comment to

Best Buy’s actual knowledge of a price fixing conspiracy. Summary judgment cannot be granted.

2. Defendants Fail To Establish that Best Buy had Constructive Notice of its
Claims

“Constructive knowledge exists when a plaintiff ‘should have been alerted to facts that,
following duly diligent inquiry, could have advised it of its claim.’” In re Petroleum Prods., 782
F. Supp at 493 (citing Conmar, 858 F. 2d at 502). Defendants have failed to show that no
genuine issues of disputed facts exist as to whether Best Buy had “facts” alerting it to its claims
or giving rise to a duty to investigate. Indeed, whether facts give rise to a duty to investigate is a
jury question that cannot be resolved on summary judgment.® And the evidence demonstrates

that Best Buy discharged any duty to investigate. See, supra, Section 1V.A.2.

a. Defendants Have Not and Cannot Demonstrate any Duty to
Investigate as a Matter of Law

[K]nowledge of facts relevant to [Plaintiffs] claim will not amount to
constructive knowledge if those facts were not of a type to prompt investigation.
Nor is there constructive knowledge if, even upon investigation, plaintiffs might
reasonably be unable to uncover their claims. Further, public access to

’ The Minnesota cases cited by Defendants are even more removed from the facts here. Hannah
Mining Co. v. Internorth, Inc, 379 N.W.2d 663 (Minn. Ct. App. 1986) is a breach of contract case
involving the price charged for natural gas. More than six years before filing its complaint,
plaintiffs had filed a claim with the Minnesota Public Utilities Commission claiming the gas
company was engaging in discriminatory pricing. The court found that the statute of limitations
was not tolled during the administrative proceeding because the commission was only setting a
rate for gas in the future, not remedying past discriminatory pricing practices. Id. at 669. Thus,
Hannah does not even address what facts are sufficient to establish actual or constructive notice
ofaclaim. In Vasek v. Western Grain & Seed Co., 353 N.W. 2d 175 (Minn. Ct. App. 1984), the
court rejected the plaintiffs fraudulent concealment claims because plaintiff was aware of the
company’s financial collapse. Jd. In Tackleson v. Abbot-Nw. Hosp., Inc., 415 N.W.2d 733
(Minn. Ct. App. 1987) the court found no fraudulent concealment because: (1) plaintiff knew she
was injured when she fell out of a hospital bed, (2) she complained at the time it happened, and

3) the hospital had offered to waive the medical bill in exchange for a release. Id. at 734-35.

See, e.g., Conmar, 858 F.2d at 504-505. (“[B]ecause ... there is a genuine issue of material

fact whether the facts publicly available were sufficient to excite [plaintiffs’] inquiry, then no due
diligence need be demonstrated for [plaintiffs] to survive summary judgment.”); Jn re Petroleum
Prods., 782 F, Supp. at 489 (“[ijt is impossible to declare at [summary judgment] that plaintiffs
failed to exercise due diligence to follow up on that which may or may not have been sufficient to
excite their suspicions.”).

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information does not incontrovertibly establish constructive knowledge of one’s
claims. Even where a plaintiff actually knows of public speculation; constructive
knowledge cannot be established, absent awareness of some evidence tending to
support it.

In re Petroleum Prods., 782 F. Supp. at 489 (“[T]he availability of information in the public
domain does not compel finding constructive knowledge.”); see also Conmar, 858 F.2d at 502
(the filing of a similar lawsuit that received “widespread industry publicity” was not tantamount
to constructive knowledge as a matter of law) (quoting Beef Indus., 600 F.2d at 1171).

Here, TAIS’s speculative and factually devoid “panel cartel” comment is much more
feeble than the publicly-known information held insufficient in Conmar, In re Beef and In re
Petroleum, and similarly requires denial of summary judgment. Defendants’ cases do not compel
a different result. For example, in Jn re Aluminum Phosphide Antitrust Litigation, summary
judgment was proper because: (1) plaintiffs failed to “cite any specific actions by defendants to
keep their meetings a secret, nor do they point to any conduct by defendants to keep price-fixing a
secret from their employees”; (2) plaintiffs investigation and survey revealed something
“seriously wrong in the market’; and (3) Plaintiffs’ counsel received information of antitrust
issues in the aluminum phosphide industry more than four years before filing the Complaint. 905
F. Supp. 1457, 1470 (D. Kan. 1995). ? None of these facts are remotely present here. Instead, the
record shows that Best Buy was presented with no facts regarding Defendants’ conspiracy and
that its investigation failed to reveal any basis to file suit.

b. Defendants Set Forth No Facts Showing that an Investigation Would
Have Uncovered Defendants’ Conspiracy

Even when a plaintiff conducts no investigation at all, there is no constructive notice
triggering the limitations period unless defendants produce evidence demonstrating that plaintiffs
could have discovered its antitrust action upon investigation. In re Petroleum Prods., 782 F.
Supp. at 493 (no constructive notice if “upon investigation, plaintiffs might reasonably be unable

to uncover their claims.”); see also In re Beef Indust. Litig., 600 F.2d at 1171 (“Defendants have

” And in Yonak v. Severson, A05S-154, 2005 Minn. App. Unpub. LEXIS 564 (Dec. 6, 2005)
plaintiffs brought a malpractice claim against an attorney who represented four partners and did
not disclose the terms of a side deal between one of the partners and a developer. Summary
Judgment was proper because the partners knew of the side deal and the lawyer disclosed the
terms of the side deal when requested. /d. at *12-13.

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the burden, as the moving parties, to demonstrate conclusively that the plaintiffs, through the
exercise of reasonable diligence, would have discovered adequate ground for filing suit.”).
Similarly, “[w]hen defendants are guilty or concealing their anti-competitive activities, the
plaintiff is not charged with knowledge of his claim until he should have discovered the basis for
his claim.” Morton’s Mkt. Inc. v. Gustafson’s Dairy, Inc., 198 F.3d 823, 833 (11th Cir. 1999)
(emphasis in original). '°

Here, Defendants have not, because they cannot, cite to any evidence demonstrating that
their price fixing conspiracy would have been discoverable by Best Buy in 2003. As such,
Defendants’ conspiracy remained successfully concealed. Their motion should be denied.

3. Best Buy Did Investigate and Its Investigation Revealed Nothing

The evidence conclusively demonstrates that Best Buy continued to investigate
component shortages and supply chain problems through at least August, 2003. See, Supra,
Section 1V.B.2. In May, 2003, Best Buy and TAIS specifically agreed to “[c]ontinue to share
information on component level issues and work to collaboratively anticipate potential shortages
and plan far enough ahead to mitigate risk.” Ex. 35. A month later — on June 17, 2003 — TAIS
and Best Buy met again to discuss the laptop supply chain. At least three TAIS employees from
the May, 2003 meeting — Kurt Skillman, Matt Weiss and Howard McBride — also attended the
June meeting. Ex. 43-44, At that meeting, TAIS was no longer reporting any panel shortages.
Id. The memo summarizing the meeting reflects no mention at all of any panel cartel, much less
any facts to support it, Exs. 43-44. Best Buy continued to investigate component issues through
at least August 25, 2003 by reaching out to HP and TAIS, but learned nothing. Ex. 45 (“I am
making the same request for Toshiba, however we are NOT hearing about component related

issues from Toshiba at this time.”). And a massive recent search of Best Buy’s electronic and

10 See also, e.g., Great Rivers Coop. v. Farmland Industries, Inc., 120 F.3d 893, 896 (8th Cir.
1997) (“inquiry notice exists when the victim is aware of facts that would lead a reasonable
person to investigate and consequently acquire actual knowledge of the defendant’s
misrepresentations”); Maggio v. Gerard Freezer & Ice Co., 824 F.2d 123, 128 (1st Cir, 1987)
(“cause of action is deemed to accrue on the date when he should have discovered the alleged
fraud”), Put another way, “[b]Joth the diligent and the non-diligent plaintiff are protected from the
expiration of claims the factual basis for which was shrouded by the veil of fraudulent
concealment.” Morton’s Mkt. Inc., 198 F.3d at 836.

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hard copy documents shows that Best Buy learned no new information regarding any panel cartel.
In short, the evidence demonstrates that Best Buy pursued with reasonable diligence all
information it learned. Best Buy discovered no actionable conduct because Defendants hid it so
well for so long.

In sum, Best Buy has met its burden of producing evidence demonstrating that Defendants
actively conspired to conceal their price fixing conspiracy. And Defendants have neither pointed
to any evidence demonstrating that Best Buy had knowledge of facts supporting a price fixing
conspiracy nor cited any evidence that Best Buy had a duty to investigate or could have
discovered a price fixing conspiracy at an earlier time.

4. Defendants Fraudulently Concealed Their Price-Fixing Conspiracy

The record is replete with evidence of Defendants’ scheme to conceal their illegal
conspiracy. See supra, Section [V(A). This elaborate and longstanding scheme fits squarely
within Ninth Circuit authorities that have found material questions of fact sufficient to defeat
summary judgment on fraudulent concealment. See, e.g., Conmar, 858 F.2d at 505 (“{a] jury
could believe that the filing of false customs forms was affirmative conduct sufficient for a
finding of fraudulent concealment”). Accordingly, sufficient evidence exists from which a jury

could conclude the Defendants affirmatively concealed their price-fixing activities.

E. Defendants’ Motion Fails Because the Statute of Limitations Was Tolled Under
Government Action, American Pipe, and Cross-Jurisdictional Tolling Principles

Summary judgment is improper because, even without fraudulent concealment, Best
Buy’s claims are timely pursuant to other tolling provisions, which Defendants ignore under the
pretext of lack of “notice.” Motion, at 14. “The basic rule is that damages are recoverable under
the federal antitrust acts only if suit therefor is ‘commenced within four years after which the
cause of action accrued,’ 15 U.S.C. § 15b, plus any additional number of years during which the
statute of limitations was tolled.” Zenith Radio Corp. v. Hazeltine Research, 401 U.S. 321, 338

(1971); see also Mt. Hood Stages, 55 F. 2d at 698, fn. 4 (tolling periods may be tacked together).

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1. The Limitations Period On Best Buy’s Direct and Indirect Claims Was
Tolled Under American Pipe and Cross-Jurisdictional Tolling

It is axiomatic that the statute of limitations was also tolled during the pendency of the
DPP class action until Best Buy opted out. See, e.g., American Pipe & Construction. Co. v. Utah,
414 U.S. 538 (1974); Tosti v. Los Angeles, 754 F.2d 1485, 1488 (9th Cir. 1985) (tolling continued
through opt-out) .'' Best Buy’s indirect claims under the Minnesota Antitrust Act are also tolled
under American Pipe and cross-jurisdictional tolling, which toll the statute on state law claims
during the pendency of a federal class action. '? Cross-jurisdictional tolling applies because
“[Minnesota] courts would apply the American Pipe class-action tolling rule in a ‘cross-
jurisdictional’ context.” In re Urethane Antitrust Litig., 663 F. Supp. 2d 1067, 1080 (D. Kan.
2009); see also Jenson vy. Allison-Williams Co., 1999 U.S. Dist. LEXIS 22170, 18-19 (S.D. Cal.
Aug. 23, 1999) (holding that federal class action tolled state law claim under Minnesota
Securities Act, and citing to Carson v. Independent School Dist. No. 623, 392 N.W.2d 216, 223
(Minn, 1986) and Bartlett v. Miller and Schroder Municipals, Inc., 355 N.W.2d 435, 439-440
(Minn. Ct. App. 1984)). Here, Best Buy’s indirect claims were tolled during the pendency of the
DPP class action until Best Buy opted-out, '? and during the pendency of the indirect purchaser

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class actions.

2. The DOJ’s Prosecution of Cartel Members Tolled the Limitations Period

Even without fraudulent concealment, American Pipe and/or cross-jurisdictional tolling,
the statute of limitations was tolled under the Government Action theory. See 15 U.S.C. § 16(i)

(“Whenever any civil or criminal proceeding is instituted by the United States to prevent, restrain

'l Ex. 51, Crago Corporation v. Samsung Electronics, et al., No. C06 7644 (filed on December

13, 2006). Best Buy opted out on December 22, 2010 after it filed its Complaint. See Ex. 52.

"° See In re Linerboard Antitrust Litig., 223 F.R.D. 335, 346 (E.D. Pa. 2004) (“In the antitrust
context, declining to adopt cross-jurisdictional class action tolling will invite the filing of
numerous protective, duplicative and in many cases, unnecessary, suits by class members that
want to consider filing claims under state antitrust law not included in a federal class action
complaint. [Citations]. These suits would undermine the efficiency of federal class actions.”).

> See Ex. 51, Crago Corp. v. Samsung Electronics Co., No.3:06-cv-07644-SU (Dkt. No. 1)
(December 12, 2006); See Request for Judicial Notice, § 4 (DPP’s Consolidated Complaint, No.
3:07-md-01827-SI (Dkt. No. 366) (Nov. 5, 2007)); Ex. 52, Best Buy’s Dec. 22, 2010 letter to
LCD class action opting out of the direct purchaser litigation classes.

* See Exs. 49-50, Rywelski v. AU Optronics Corp. et al., 07:cv-01393-MJD-AJB (Dkt. No. 1)
(March 2, 2007); Mulvey v. AU Optronics Corp., 07:cv-01425-MJD-SRN (Dkt. No. 1) (March 6,
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or punish violations of any antitrust laws...the running of the statute of limitations ... shall be
suspended during the pendency thereof and for one year thereafter.”). This tolling provision is
broadly construed. '!° Here, the DOJ filed its first indictment of Defendants on November 12,
2008, and criminal proceedings are ongoing. Ex. 48. And Best Buy filed its lawsuit on October

8, 2010, during the pendency of the DOJ’s criminal proceedings. See FAC, Dkt. 37.

3. Best Buy Has Not “Waived” Government Action and/or American Pipe
Tolling

Defendants’ assertion that Best Buy’s FAC fails to give them notice of Best Buy’s tolling
theories is legally and factually meritless. First, putting aside that Defendants are keenly aware of
the DOJ’s criminal indictments and AUO’s conviction, Best Buy’s complaint discusses the DOJ’s
criminal proceedings against Defendants at length. See FAC, Dkt. 37, at §§ 178-186. These
allegations are more than sufficient to give Defendants notice. Defendants are also aware of the
pendency of IPP and DPP class actions. Indeed, “[a] class complaint notifies the defendants not
only of the substantive claims being brought against them, but also of the number and generic
identities of the potential plaintiffs who may participate in the judgment.” Crown, Cork & Seal
Co. v. Parker, 462 U.S. 345, 350-52 (1983) (citations omitted). And Best Buy pleads abundant
facts showing that it was a member of the DPP class. See FAC, Dkt. 37 at §f 1, 18-19. That the
FAC does not articulate the word “American Pipe” is of no moment. '°
To support their “waiver” argument, Defendants misstate the Ninth Circuit’s decision in

Wasco Prods. Inc. v. Southwall Tech. Inc., 435 F.3d 989 (9th Cir. 2006). Wasco held that a

plaintiff must plead a fraudulent conspiracy with specificity pursuant to Rule 9, and cannot defeat

summary judgment by simply alleging the existence of fraudulent conspiracy in its opposition.

Relying on cases requiring a heightened pleading standard, such as fraud and conspiracy claims,

> See, e. g., Zenith Radio, 401 US at 335 (naming different defendants does not defeat the tolling
so long as the private suit alleges “at least in part the same conspiracy”); 3M v. New Jersey
Finishing, 381 US 311 (1965) (identity of issues not required”); Leh v. General Petroleum, 382
U.S. 54 (1965).

8 See, e.g., Cervantes v. City of San Diego, 5 F.3d 1273, 1277 (9th Cir. 1993); Burdick v. Union
Sec, Ins. Co., 2009 U.S. Dist. Lexis 121768, n. 17 (C.D. Cal., Dec. 9, 2009 (plaintiffs need not
literally raise “equitable tolling” in the complaint for the doctrine to apply; rather, “the sole issue
is whether the complaint, liberally construed in light of our ‘notice pleading’ system, adequately
alleges facts showing the potential applicability of the equitable tolling doctrine.”).

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the Wasco Court expressly limited its holding to fraudulent conspiracies. Id. at 992 (“[w]e also
express no opinion as to pleading requirements if the object of the conspiracy is non-
fraudulent.”). The Wasco Court also noted that the plaintiff failed to come forth with any actual
evidence of fraudulent concealment in opposition to summary judgment. Jd. at 991.

Cases construing Wasco confirm that it cannot apply here. In Burdick Burdick v. Union
Sec. Ins, Co.,CV 07-4028 ABC(JCx), 2009 U.S. Dist. Lexis 121768 (C.D. Cal. Dec. 9, 2009), the
defendant moved for summary judgment on grounds that the limitations period had expired, and
argued that the plaintiff had not plead the discovery rule and thus could not rely upon it. The
court rejected this argument, ruled that the Wasco “dicta” did not apply to the discovery rule, The
Court thus considered Plaintiff's evidence on summary judgment. Jd. And in Grisham v. Philip
Morris, Inc., 670 F. Supp. 2d 1014, 1022 (C.D. Cal. 2009), the court ruled that Wasco was limited.
to conspiracy claims, and did not apply where the plaintiff comes forward with evidence (rather
than allegations) in opposition to summary judgment.

Moreover, the Court can properly construe the instant opposition as a request for leave to
amend to allege the term “American Pipe” in Best Buy’s complaint. See Grisham, 670 F. Supp.
2d at 1022 (“In this Circuit, courts may construe other filings, including oppositions to motions, as

motions to amend where amendment would be proper.” [citations omitted]). !”
D. Defendants’ Mitigation Argument Is Legally and Factually Meritless

Defendants argue that summary judgment is warranted because Best Buy “could have
sued the defendants” but instead “gamed the system” and made “a bet on treble damages.” Mot.,
at pgs. 17:27; 18:9-10, 20:1. This absurd proposition — as bold as it is — is premised on a flimsy
theory and on imaginary facts. As demonstrated, even after its investigation, Best Buy had no
facts that would have allowed it to lodge any complaint with any entity against any Defendant.

Best Buy had no evidence to even identify any defendants, much less formulate what they did,

'T See also, Id. at 1022 (“Rule 15 provides that [t]he court should freely give leave [to amend the
pleadings] when justice so requires. Fed. R. Civ. P. 15(a) (2). In order for a court to seek
‘justice,’ mere technical deficiencies should not prevent a meritorious action from going
forward.”); Roberts v, Arizona Bd. of Regents, 661 F.2d 796, 798 n.1 (9th Cir. 1981) (same);
Schwarzer et al., Federal Procedure Before Trial, at § 14:27.1 (“courts may treat a party’s raising
new claims or defenses on a summary judgment motion as a motion for leave to amend the
pleadings, which is normally granted absent prejudice to the opposing party.”).

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and how, where, and when they did it, or that Best Buy was damaged thereby. Defendants point
to no such evidence, and instead resort to empty rhetoric and naked proclamations. On this
record, summary judgment cannot be granted.

1. There Is No Mitigation of Damages Defense In Price Fixing Cases

Defendants’ “mitigation of damages” theory has been rejected in Sherman Act price
fixing cases as an improper attempt to limit damages to less than Defendants’ illegal overcharges,
and violates U.S. and Minnesota Supreme Court precedent abolishing “pass-on.” Under J/linois
Brick, mitigation of harm by passing some all of the overcharge to indirect purchases is irrelevant.
See, e.g., Illinois Brick Co. v. Illinois, 431 U.S. 720, 746 (1977) (no mitigation defense when the
direct purchaser “passes on” an illegal overcharge to the indirect purchaser); Royal Printing Co.
v. Kimberly-Clark Corp., 621 F.2d 323, 327 (9th Cir. 1980) (a price fixing plaintiff is “allowed to
recover its ‘full’ damages even though it ‘mitigated’ its damages by passing part of the excessive
costs to its customers.”); Jn re Airline Ticket Comm'n Antitrust Litig., 918 F. Supp. 283, 286-287
(D. Minn. 1996) (mitigation of damages defense may apply in failure to deal cases, but “[iJn a
horizontal price-fixing case, however, mitigation and offset generally do not affect the ultimate
measure of damages.”). The same conclusion applies to Best Buy’s claims under the Minnesota
Anti-Trust Act. See State of Minnesota v. Philip Morris Inc., 551 N.W.2d 490, 497 (Minn. 1996)
(“We ... conclude that it was the intent of the Minnesota legislature to abolish the availability of
the pass through defense.”).

Best Buy is unaware of a single reported or unreported decision endorsing the Defendants’
proposed mitigation of damages theory in price fixing cases, and Defendants cite to none.
Instead, they cite to cases finding a duty to mitigate lost profits damages in failure to deal cases.
See, e.g., Fishman v. Estate of Wirtz, 807 F.2d 520, 556 (7th Cir. 1996) (expressly limiting the
mitigation of damages defense to failure to deal cases, and even then only “under the unique facts
here.”); Litton Systems, Inc. v. American Tel. & Tel. Co., 700 F.2d 785, 820, fn. 47 (2nd Cir.
1983) (exclusion from marketplace); Pierce v. Ramsey Winch Co., 753 F.2d 416, 437 (Sth Cir.
1985) (duty to mitigate in failure to deal case by: “(1) obtaining product from another source or

(2) increasing efforts in other product lines.”); Borger v. Yamaha Int’l Corp., 625 F.2d 390, 399

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(2d Cir. 1980). And in MCI v. AT&T, 708 F.2d 1081 (7th Cir. 1983), the mitigation of damages
defense was not at issue. Instead, the dissenting/concurring opinion cited to all the jury
instructions below “for reference purposes only.” Jd. at 1195. There is no discussion of
mitigation anywhere in the 200+ page opinion. It goes without saying that cases are not authority

for issues not considered or decided.

2. Defendants’ Mitigation of Damages Defense Is Contrary To Law Because It
Purports To Abrogate the Statute of Limitations

Defendants’ mitigation of damages defense would effectively eliminate the four-year
limitations period under the Sherman Act and the Minnesota Antitrust Act by requiring Best Buy
to immediately file suit irrespective of the limitations period. See 15 USC § 15b; Minn. Stat. §
325D.64. And it would reverse 38 years of Supreme Court jurisprudence tolling the limitations
period during the pendency of class actions (American Pipe & Construction Co. v. Utah, 414 U.S.
538 (1974)), while directly contravening the policies underlying the statute of limitations. See
Cal. Franchise Tax Bd. v. Kendall, 657 F.3d 921, 929 (9th Cir. 2011) (“the policies underlying

statutes of limitations include the elimination of stale claims and a guarantee of certainty for both

parties regarding their rights and potential liabilities.” [emphasis added)]).

Defendants’ defense also violates Supreme Court authority holding that each act of price
fixing “is part of the violation . . . that injures the plaintiff. . . [and] starts the statutory period
running again, regardless of the plaintiff's knowledge of the alleged illegality at much earlier
times.” Klehr v. A.O. Smith Corp., 521 U.S. 179, 189 (1997) (quotation omitted) (emphasis
added). A plaintiff's knowledge of earlier harms cannot be a bar to recovery for violations that
are within the statute of limitation. Jd.

Defendants’ theory isn’t the law. Indeed, their proposal has far reaching implications.

The theory would require all plaintiffs in all civil proceedings to “mitigate their damages” by

seeking law enforcement intervention and bringing a civil suit (to stop the wrongful conduct)
immediately upon determining actual injury and irrespective of any and all applicable limitations

or tolling periods. Defendants ignored these critical issues in prior briefing before the Special

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Master and this Court related to their Motion to designate a “mitigation of damages” expert, and

do so again. This Court should not be the first to create such precedent.

3. Defendants Have Failed to Establish that Best Buy was Aware of Facts
Giving Rise to a Duty to Mitigate

“The duty to mitigate damages does not arise until the party upon whom the duty is

impressed is aware of facts making the duty to mitigate necessary.” Home Indem. Co. v. Lane

Powell Moss & Miller, 43 F.3d 1322, 1329 (9th Cir. 1995) (rejecting defense where plaintiff was
not “actually aware” of facts giving rise to duty) (emphasis added). Such duty arises only where

a party “actually discover[s] the damage done to [it].” Jd. (emphasis added); see also Lopez v.

Musinorte Entm't Corp., 434 Fed. Appx. 696, 699, 2011 U.S. App. LEXIS 10793 (9th Cir, 2011)
(same). Here, Defendants’ hyperbole and overstatements notwithstanding, there is no evidence
demonstrating that Best Buy became “actually” aware of any evidence of a panel cartel, 9much
less any harm or injury causes to Best Buy thereby) even as it continued to meet with TAIS and
specifically asked for information regarding shortages.

Defendants’ bizarre (though comical) insistence that Best Buy should have filed a civil
complaint on this record cannot be remotely reconciled with Rule 11. This is best illustrated
when one imagines drafting a complaint with a blank caption and no factual allegations regarding
any conspiracy. Nor did Best Buy have any facts (neither did TAIS apparently) to report to the
DOJ. Yet Defendants nevertheless urge this Court to find that, as a matter of law, the DOJ would
have initiated an investigation on this record and brought down the cartel. Rule 56 requires a
showing that there are no genuine issues of disputed fact. Counsel’s unsupported and illogical
speculation totally fails to meet this standard.

4. As a Matter of Law, the Duty to Mitigate Did Not Require Notification of the
DOJ or the Filing of a Civil Action

Even if Defendants’ theory existed in price fixing cases, and even if there were any facts
to support it, the law imposes no burden on Best Buy to attempt to stop Defendants’ wrongdoing
by notifying the DOJ. In analogous contexts, courts have rejected the theory that Best Buy bore
responsibility for stopping defendants’ conspiracy as “ridiculous.” See Westman Com. Co. v.
Hobart Corp., 541 F. Supp. 307, 314-315 (D. Colo. 1982) rev'd on other grounds, 409 U.S, 363
(1972); see also Gorman v. University of Rhode Island, 646 F. Supp. 799, 814 (D.R.I. 1986),

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rev'd on other grounds, 837 F.2d 7 (1st Cir. 1988). In Westman, an antitrust defendant claimed
that the plaintiff could have mitigated its damages by seeking an injunction. The court labeled the
logic “ridiculous” and stated that the argument impermissibly placed the onus of stopping the
illegal action on the plaintiff:
Hobart’s argument that Westman failed to mitigate its damages by not filing an
injunction is ridiculous. This argument implicitly assumes that Hobart was guilty
of a continuing violation of the antitrust laws, yet attempts to place the onus of
stopping that violation on Westman ... a defendant can not claim immunity
from damages caused by its illegal actions because a plaintiff could have
stopped them by filing for an injunction.
Id. [emphasis added]; see also Gorman, 646 F. Supp. 799, 814 (same); Ford Motor Credit Co. v.
Hairston, No. 06-cv-0004, 2006 WL 2850615, at *3 (W.D. Va. Oct. 2, 2006) (“The deficiencies
of this ‘stop me before I breach contract again’ defense are obvious.”). '®
Defendants’ arguments here are even more absurd than those advanced by defendants in

Westman and Gorman, where plaintiffs actually had evidence upon which to file suit. Defendants

simply “cannot claim immunity from damages caused by its illegal actions” by speculating that
Best Buy could have stopped them by filing a lawsuit or running to the DOJ without any evidence
of its claims. '? As in Westman and Gorman, their fabricated theory should be rejected.

VI.
CONCLUSION

For the above foregoing reasons, Best Buy respectfully request that the Court deny
Defendants’ Motion in all respects.

Dated: August 17, 2012 ROBINS, KAPLAN, MILLER & CIRESI L.L.P.

By: __/s/ Roman M. Silberfeld
Roman M. Silberfeld

‘“ None of the cases cited by Defendants support their argument of a duty to mitigate. See
Daviton v. Columbia/HCA Healthcare Corp., 241 F.3d 1131, 1140 (9th Cir. 2001) (mitigation not
at issue); Caudle v. Bristow Optical Co., 224 F.3d 1014, 1020-1021(9th Cir. 2000) (withdrawal
from workforce); In re Fortune Sys. Sec. Litig., 680 F. Supp. 1360, 1370 (N.D. Cal. 1987) (failure
to sell stock after learning of fraudulent statements); Bemidji Sales Barn Inc. v. Chatfield, 250
N.W.2d 185,189 (Minn. 1977) (failure to take steps to prevent cattle fever); First Nat’l Bank of
LeCenter v. Farmers Union Mktg. and Processing Ass'n, 371 N.W.2d 22, 26 (Minn. App. 1985)
(mitigation not available); In re Visa Check/MasterMoney Antitrust Litig., 280 F.3d 124,149-150
(2d. Cir. 2011); (Dissent’s dicta re impact of potential duty to mitigate in class cert. proceedings);
Al’s Service Ctr, v. BP Prods. N. Am., Inc., 599 F.3d 720,727 (7th Cir. 2010) (stating, in dicta,
that the failure to enforce a pending injunction may constitute failure to mitigate).

9 Miller vy. Perry Corp., Case No. 3:05CV7454, 2007 U. S. Dist. LEXIS 28399 (N. D. Ohio
April 17, 2007) is irrelevant. There, the Court concluded that a plaintiff who failed to take action
to challenge a non-compete agreement could not later seek to recover compensatory damages.
These two facts — the absence of unlawful conduct or wrongdoing and the resulting unavailability
of compensatory damages — readily distinguish Miller from this case.

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